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AO 9l (Rev. 08/09) Criminal Complaint wis "'*"‘_ gilliam c':gn

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UNITED STATES DISTRICT CoURT l F"‘E”
for the "uL 2 8 2017

Southern District of Texas

   

 

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United States of America )

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Cesar GARClA-Barajas ) Case NO' `\A `/l l
YoB; 1982 Coc; lvlexlco §
)
Defendant(s)
CRIMINAL COMPLAINT

I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

 

 

On or about the date(s) of Ju|y 27, 2017 in the county of Hida|go in the
Southern District of Texas , the defendant(s) violated:
Code Section Offense Description
18 U.S.C. § 922(g)(5)(A) Knowingly and unlawfu||y, being an alien, who is“!legally or unlawfully ln the

United States, to knowingly possess ammunition-and f rearmt in and affecting
interstate or foreign commerce, to wit: approximately 91 rounds of ammunition
and ten (10) flrearms.

This criminal complaint is based on these facts:
On Ju|y 27, 2017, Cesar GARC|A-Barajas was detained for being in the United States illega||y. Fo|lowing a consent
search of GARC|A's residence, approximately 91 rounds of ammunition and ten (10) flrearms were discovered
SEE ATTACHMENT "A"

v/ Continued on the attached sheet.

  

 

Complainant ’s signature

W/?\/`<J Evan Mason, HS| Specia| Agent
WWS%' \W/ Printed name and title

Sworn to before me and signed in my presence.

Date: 7/28/2017 /SM»¢/ %%-`

Judge ’s signature

 

City and states McAllen, Texas U.S. Magistrate Dorina Ramos

Printed name and title

II.

III.

IV.

VI.

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ATTACHMENT A

On July 27, 2017, United States Border Patrol (USBP) agents encountered Cesar
GARCIA-Baraj as (GARCIA) following a traffic stop conducted by the Hidalgo
County Sheriff"s Office. During the course of the encounter, GARCIA freely
admitted to being a citizen and national of Mexico illegally present in the United
States. GARCIA then gave USBP agents consent to search his residence and the
other structures located on his property.

USBP agents conducted a search of the residence and located one (l) shotgun in the
living room area. In GARCIA’s bedroom, USBP agents discovered one (l) pistol
with a loaded magazine, one (l) unloaded 9mm pistol, and one (l) loaded .22 caliber
Smith and Wesson M&P 15 -22 rifle with two magazines that were taped together and
loaded in the rifle. Upon discovering the firearms, Homeland Security Investigations
(HSI) Special Agents (SAs) were notified of the discovery, at which time HSI SAs
responded to GARCIA’s residence. Upon a more thorough search of GARCIA’s
bedroom, USBP and HSI also discovered one (l) Hi-Point .45 caliber semi-automatic
pistol, one (l) Colt .38 Special revolver, and additional .45 caliber ammunition.

USBP agents also discovered five additional rifles in a trailer located on GARCIA’s
property. Of the five (5) rifles discovered in the trailer, one (l) was determined to be
a .270 bolt action rifle and the other four (4) were determined to be .22 caliber rifles.

Upon rendering all weapons safe, HSI SAs and USBP agents discovered one (l)
round of .40 caliber ammunition, fifty-seven (57) rounds of .22 caliber ammunition,
nine (9) rounds of .22 LR ammunition, one (l) 12 gauge shotgun shell, thirteen
rounds of .45 caliber ammunition, and ten (lO) rounds of 9mm ammunition

Checks of Department of Homeland Security indices revealed that GARCIA was
removed from the United States on multiple occasions, most recently in April of
201 6.

SAs advised GARCIA of his Miranda Rights, at which time GARCIA waived his
right to counsel and agreed to answer questions During the course of the interview,
GARCIA stated that he was the owner of five (5) of the ten (lO) firearms recovered
and that he was aware that all the firearms were being stored on his property.
GARCIA further stated that all the ammunition recovered from GARCIA’s bedroom
belonged to GARCIA. GARCIA stated that he purchased the firearms from various
individuals in the past. GARCIA stated that he was knowingly residing illegally in
the United States.

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VII. On July 27 , 2017, your affiant was able to communicate with an Alcohol, Tobacco,
Firearms, and Explosives (ATF) SA, who is recognized as an expert in the interstate
and foreign commerce travel of firearms and ammunition. Based on the information
your affiant provided the ATF SA regarding the Smith and Wesson AR style 15-22
rifle possessed by GARCIA on July 27, 2017, the ATF SA stated that the
aforementioned rifle was manufactured outside the State of Texas and, therefore,
previously traveled in the interstate or foreign commerce at some time prior to being
possessed by any person in the State of Texas.

